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 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11    RUBEN NEVAREZ,                                     CaseNo.: 21-cv-01040-MMA-RBM
12                                     Petitioner,
                                                         ORDER.GRANTING
13    v.                                                 RESPONDENT'S SECOND EX
                                                         PARTE MOTION FOR AN
14    ROD GODWIN, Warden, et al.,
                                                         ENLARGEMENT OF TIME TO FILE
15                                  Respondents.         AN ANSWER
16
17                                                       [Doc. 9]
18
19          Petitioner, a state prisoner proceeding pro se, filed a petition for writ of habeas
20   corpus ("Petition") pursuant to 28 U.S.C. § 2254. On July 13, 2021, the undersigned issued
21   an order requiring Respondent, Rod Godwin ("Respondent"), to file and serve a motion to
22   dismiss or an answer to the Petition no later than September 13, 2021. (Doc. 5 at 2.)
23          On September 7, 2021, Respondent filed an ex parte motion for an enlargement of
24   time to file a motion to dismiss or an answer to the Petition. (Doc. 7.) Respondent
25   requested a thirty-day enlargement of time to October 13, 2021, to file a response. (Id. at
26    1.) The undersigned granted the ex parte motion and ordered Respondent to file a response
27   no later than October 13, 2021. (Doc. 8.)
28          On October 12, 2021-one day before the response deadline-Respondent filed a

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 1   second ex parte motion for an enlargement of time to file an answer to the Petition
 2 . ("Motion") requesting a twenty-one-day enlargement of time. (Doc. 9.) In the Declaration
·3   of Matthew Mulford, Respondent's counsel alleges an enlargement is necessary due to the
 4   demands of counsel's current caseload, including "prepar[ing] a memorandum regarding a
 5   death penalty case pending in the California Supreme Court." (Id. at 3.)
 6         Good cause appearing, the ex parte motion is GRANTED. However, Respondent
 7   is admonished to comply with the undersigned's Civil Chambers Rules with respect to all
 8   future filings including filing any request for a continuance of time no less than seven (7)
·9   calendar days before the affected date. See The Hon. Ruth Bermudez Montenegro Civil
10   Chambers Rules, sec. VII. Accordingly, IT IS ORDERED that:
11          1.    If Respondent contends the· Petition can be decided without the Court's ·
12   reaching the merits of Petitioner's claims (e.g., because Respondent contends Petitioner
13   has failed to exhaust any state remedies as to any ground for relief alleged in the Petition,
14   or that the Petition is barred by the statute of limitations, or that the Petition is subject to
15   dismissal under Rule 9 of the Rules Governing § 2254 Cases, or that all of the claims are
16   procedurally defaulted, or that Petitioner is not in custody), Respondent must file ·a motion
17   to dismiss pursuant to Rule 4 of the Rules Governing§ 2254 Cases no later than November
18   3, 2021. The motion to dismiss must not address the merits of Petitioner's claims, but
19   rather must address all grounds upon which Respondent contends dismissal without
20   reaching the merits of Petitioner's claims is warranted. 1 At the time the motion to dismiss
21   is filed, Respondent must lodge with the Court all records bearing on Respondent's
22   contention in this regard. A hearing date is not required for the motion to dismiss.
23         2.     If Respondent files a motion to dismiss, Petitioner must file his opposition, if
24   any, to the motion no later than December 3, 2021. At the time the opposition is filed,
25
26
27   1 If Respondent contends Petitioner has failed to exhaust any state remedies as to any
     ground for relief alleged in the Petition, the motion to dismiss must also specify the state
28   remedies still available to Petitioner.                                                  ·
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 1 Petitioner must lodge with the Court any records not lodged by Respondent which
 2    Petitioner believes may be relevant to the Court's determination of the motion.
 3           3.    Unless the Court orders otherwise, Respondent must not file a reply to
 4    Petitioner's opposition to a motion to dismiss. If the motion is denied, the Court will afford
 5    Respondent adequate time to respond to Petitioner's claims on the merits.
 6           4.    If Respondent does not contend that the Petition can be decided without the
 7    Court reaching the merits of Petitioner's claims, Respondent must file and serve an answer
 8 to the Petition, and a memorandum of points and authorities in support of such answer,
 9    pursuant to Rule 5 of the Rules Governing§ 2254 Cases no later than November 3, 2021.
10    At the time the answer is filed, Respondent must lodge with the Court all records bearing
11     on the merits of Petitioner's claims. The lodgments must be accompanied by a notice of
12     lodgment which must be captioned "Notice of Lodgment in 28 U.S.C. § 2254 Habeas
13     Corpus Case -    To Be Sent to Clerk's Office." Respondent must not combine separate
14    pleadings, orders or other items into a combined lodgment entry. Each item must be
15    numbered separately and sequentially.
16           5.    Petitioner may file a traverse to matters raised in the answer no later than
17 .December 3, 2021. Any traverse by Petitioner (a) must state whether Petitioner admits or
18     denies each allegation of fact contained in the answer; (b) must be limited to facts or
19     arguments responsive to matters raised in the answer; and ( c) must not raise new grounds
.20    for relief that were not asserted in the Petition. Grounds for relief withheld until the
21    traverse will not be considered. No traverse can exceed ten (10) pages in length absent
22     advance leave of ,Court for good cause shown.
23           6.    A request by a party for an extension of time within which to file any of the
24     pleadings required by this Order must be made,at least seven (7) days in advance of the
25     due date of the pleading, and the Court will grant such a request only upon a showing of
26     good cause. Any such request must be accompanied by a declaration under penalty of
27     perjury explaining why an extension of time is necessary.
28           7.    Unless otherwise ordered by the Court, this case will be deemed submitted on

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 1   the day following the date Petitioner's opposition to a motion to dismiss and/or his traverse
 2   is due.
 3             8.   Every document delivered to the Court must include a certificate of service
 4   attesting that a copy of such document was served on opposing counsel (or on the opposing
                                                                            (

 5   party, if such party is not represented by counsel). Any document delivered t<? the Court
 6   without a certificate of service will be returned to the submitting party and will be
 7   disregarded by the Court.
 8             9.   Petitioner must immediately notify the Court and counsel for Respondent of
 9   any change of Petitioner's address. If Petitioner fails to keep the Court informed of where
10   Petitioner may be contacted, this action will be subject to dismissal for failure to prosecute.
11             IT IS SO ORDERED.
12   Dated: October 20, 2021
13
14                                               HON. RUTH BERMUDEZ MONTENEGRO
15                                               UNITED STATES MAGISTRATE JUDGE

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